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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

CARL DAVIS, JR.
ADC #153237                                                                       PLAINTIFF

                                   4:20CV00336-JM-PSH

DEXTER PAYNE, et al.                                                           DEFENDANTS

                                           ORDER

       The Court has received proposed findings and recommendations from United States

Magistrate Judge Patricia S. Harris. There have been no objections. After a review of those

proposed findings and recommendations, the Court adopts them in their entirety. Accordingly,

       IT IS, THEREFORE, ORDERED that:

       1.     Defendants Malcom and Duke are dismissed without prejudice for lack of service.

       IT IS SO ORDERED this 9th day of November, 2020.




                                           _________________________________
                                           JAMES M. MOODY, JR.
                                           UNITED STATES DISTRICT JUDGE




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